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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF CONNECTICUT



  GREENWICH LEGAL AS SOCIATES,
  LLC

                   Plaintiff,
  V.                                                     Civil Action No.


  ADAM FRANKEL and FRANKEL
  CONSULTING INC.

                   Defendants.



                                 VERIFIED COMPLAINT

            Plaintiff, Greenwich Legal Associates, LLC ("GLA"), for its complaint against

  the defendants, Adam Frankel ("Frankel") and Frankel Consulting Inc. ("FCI")

  (collectively the "Defendants"), alleges as follows:

                                JURISDICTION AND VENUE

            1.     This Verified Complaint arises under federal law and under the laws of

  the State of Connecticut and seeks legal and equitable relief for the Defendants'

  unlawful access to, and misuse of, GLA 's highly confidential , proprietary and trade

  secret information created by GLA and maintained and stored on its computer system.

            2.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331

  over GLA's claims under the Computer Fraud and Abuse Act ("CFAA"), 18 U.S.C. §

  1030, et seq., the Stored Communications Act ("SCA"), 18 U.S.C. § 2701, et seq., and

  the Defend Trade Secrets Act ("DTSA"), 18 U.S.C. § 1831, et seq. This Court has


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  supplemental jurisdiction over GLA' s remaining state law claims pursuant to 28

  U.S.C. § 1367, because they are so related to GLA's federal DTSA, SCA, and CFAA

  claims that they form part of the same case or controversy and derive from a common

  nucleus of operative fact.

            3.    The Court also has subject matter jurisdiction by virtue of 28 U.S.C. §

  1332 in that the Defendants are residents of Florida and the matter in controversy,

  exclusive of interest and costs, exceeds $75,000.

            4.    Venue is proper under 28 U.S.C. § 139l(b)(2) because a substantial

  part of the events that gave rise to this claim occurred in this District.

                                       THE PARTIES

            5.    GLA is a limited liability company organized under the laws of the

  state of Connecticut and maintains its principal place of business in Greenwich,

  Connecticut. GLA is a citizen of the State of Connecticut for diversity purposes

  because its sole member, Brandon Lacoff, is a natural person who is a citizen and

  resident of the State of Connecticut.

            6.    Frankel is a natural person who is a resident and citizen of the state of

  Florida, with a residence at 11095 Stonewood Forest Trail, Boynton Beach, Florida.

            7.    FCI is a Florida profit corporation with a principal place of business at

  11095 Stonewood Forest Trail, Boynton Beach, Florida.

            8.    Frankel has direct or indirect ownership and control over FCI and

  maintains the title of Manager.




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            9.     From on or about August 2009 through late 2021, Frankel served as an

  independent contractor who provided legal consulting services to GLA

            10.    The Court has personal jurisdiction over Frankel because (i) he

  personally availed himself of certain benefits, opportunities, and resources available to

  independent contractors of GLA in Connecticut; (ii) he is an attorney licensed to

  practice in Connecticut; (iii) at the outset of his relationship with GLA, before he

  began his residence in Florida, he provided legal services for GLA while living in

  Connecticut; and (iv) while living in Connecticut and then later while living in

  Florida, Frankel accessed GLA email, confidential and proprietary information and/or

  trade secrets that were created by GLA or were created by Defendants for GLA, and

  that were maintained and stored on GLA computers and servers located in Connecticut

  , and Frankel used this access in an unauthorized manner to acquire improperly, and

  transfer to himself confidential GLA information.

            11 .   The Court has personal jurisdiction over FCI because, upon

  information and belief, through Frankel' s ownership and control it (i) intentionally

  availed itself of the benefits, opportunities, and resources available to it as an

  independent contractor of GLA; and (ii) accessed GLA email, confidential and

  proprietary information and/or trade secrets that were created by GLA or by

  Defendants for GLA, and maintained and stored on GLA computer servers located in

  Connecticut , and used this access in an unauthorized manner to acquire improperly

  and transfer to itself confidential GLA information.




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                                FACTUAL ALLEGATIONS

           12.    GLA is a boutique law firm offering legal services focused on

  sophisticated and selective class action litigation in the securities, antitrust, and

  consumer areas.

           13.    GLA's services are offered and used throughout the United States, and

  its customers, prospective customers, referral sources, and litigation cases are located

  throughout the United States. GLA's computer systems and information technology

  resources are connected to the Internet and used in interstate commerce.

           14.    Throughout its history, GLA has expended hundreds of thousands of

  dollars on its research, marketing, and practice development and client development

  activities.

           15.    The class action legal services business is highly competitive. As a

  result, it is extremely important for GLA to protect its trade secrets and other propriety

  and confidential information, which includes, without limitation: client information;

  case referral sources; case selection methods; plaintiff.identification methods; case

  development and management methods; financial information; pricing information;

  client loss calculations; and marketing and business strategies and methods.

           16.    This proprietary and confidential information derives independent

  economic value from its being kept secret; and if competitors such as other law firms

  or consulting services were to gain access to the information, they could use such

  information to their gain and to GLA ' s economic detriment by, for instance, poaching




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  clients or prospective clients, profiting from GLA's know-how and work product at

  GLA's expense, and undercutting GLA's pricing.

           17.        GLA has made numerous efforts that are reasonable under the

  circumstances to maintain the secrecy and confidentiality of its trade secrets and

  confidential and proprietary information. These efforts include, without limitation:

                 a. Maintaining control over GLA information and GLA client
                    information, either directly or through delegating said responsibilities
                    to Defendant Frankel in cases he was involved with on behalf of GLA,
                    including all GLA information technology resources used to access or
                    store GLA email, GLA information, and GLA client information;

                 b. Restricting access to confidential information and trade secrets to GLA
                    employees and to Frankel, a licensed Connecticut attorney who owed a
                    duty to GLA and to GLA clients to keep this information confidential;

                 c.   Restricting access to GLA computer systems by requiring unique user
                      names and passwords;

                 d. Deploying information technology to safeguard GLA and client
                    information and communications;

                 e. Securing entry to GLA's Connecticut office;

                 f.   Relying on all GLA attorney employees and Frankel to comply with
                      Connecticut Rules of Professional Conduct for lawyers and law firms ,
                      including without limitation rules concerning confidentiality and
                      safeguarding client information and property and the proper use of
                      technology in communicating with clients and handling client
                      information; and

                 g. Requiring all GLA employees and Frankel to conduct themselves in
                    accordance with GLA 's ethical standards, policies, and procedures,
                    which include the safeguarding and proper use of OLA-provided
                    computer resources concerning GLA's confidential and propriety
                    information, and trade secrets.

           18.        During his relationship with GLA, Frankel' s duties and responsibilities

  included, for example, following developments in corporate, antitrust, consumer, and


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  securities law, including cases filed and decisions rendered, for purposes of

  developing new business; assisting clients of GLA whose cases or potential cases fell

  within such practice categories; serving as liaison to clients and potential clients;

  assisting clients in fulfilling discovery obligations and other duties ; providing

  litigation updates; helping communicate with co-counsel; and helping to prepare

  clients for depositions.

           19.    Throughout the entirety of Frankel' s relationship and solely as

  necessary for the purpose of performing his duties , GLA provided Frankel with access

  to certain trade secret, highly confidential and proprietary information belonging to

  GLA. This information included, without limitation, certain strategic and

  competitively sensitive information about GLA's services and clients, such as client

  account information, pricing, research data, business methods and strategies, and

  information on professional and client development.

           20.   Throughout the entirety of Frankel' s relationship and solely as

  necessary for the purpose of performing his duties, GLA provided Frankel with a

  computer, external hard drive, and access to GLA-provided online accounts , software

  applications and services. In each such instance, GLA either paid for the device or

  service, or reimbursed Frankel for the same.

           21.   Throughout the entirety of Frankel's relationship and solely as

  necessary for the purpose of performing his duties , GLA provided Frankel with remote

  access to GLA proprietary and confidential information and trade secrets stored in its




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  information technology systems located in Connecticut, and Frankel would remotely

  access such systems from Florida and from elsewhere in the United States.

           22.   In 2021 , GLA became aware that Frankel had been storing and/or

  backing up GLA data files for some time to a cloud storage service account that was

  not GLA's own preferred cloud storage account. Within this rogue cloud storage

  account was a GLA folder and at least one thousand GLA subfolders that contained

  tens of thousands of GLA files . At that time, individuals with access to this GLA

  folder and its contents included Frankel, GLA Executive Manager Martin Lacoff, and

  GLA Managing Partner, Brandon Lacoff, Esq. (together Martin Lacoff and Brandon

  Lacoff shall be referred to as the "Lacoffs").

           23.   Upon information and belief, the GLA folder and data files identified in

  the preceding paragraph included GLA's confidential and proprietary information and

  trade secrets about closed, active, and prospective GLA cases, including without

  limitation, client retainer agreements and information, power of attorney documents,

  affidavits, internal GLA counsel and co-counsel communications, client

  correspondence, spreadsheets containing client stock trading information, spreadsheets

  containing client financial loss information, draft demand letters, deposition

  preparation notations, confidential settlement materials, electronic communications,

  other attorney work product, and other information about client representations

  (collectively hereinafter referred to as "GLA Data").

           24.   When GLA directed Frankel to remove the GLA Data from his rogue

  cloud storage account permanently and to transfer the files to GLA, Frankel declared



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  that OLA did not own the rogue cloud storage service account which he asserted was

  his cloud storage account to control. Frankel not only refused to comply with OLA' s

  direction, but acted instead intentionally and permanently to deprive OLA of the OLA

  Data by terminating the Lacoffs ' access to the OLA folder and subfolders, and in turn

  causing the automatic deletion of OLA Data on OLA computers and electronic

  devices.

            25.    In addition to the misappropriation of the OLA Data, upon information

  and belief, Frankel contacted OLA' s business relationships and disparaged OLA and

  its members.

            26.    By letter from counsel for OLA dated January 11, 2022, OLA

  terminated Frankel' s business relationship and demanded return of all OLA property

  and information OLA furnished to Frankel and information Frankel created or

  prepared in connection with his work for OLA. Attached hereto as Exhibit A is an

  authentic copy of said letter. To the present date, Frankel has refused to return OLA

  property and information, including without limitation a OLA-provided computer,

  external hard drive, and OLA Data; and he refused to restore OLA ' s access to and

  control over the rogue cloud storage account and related OLA folder and subfolders.

            27.    Upon information and belief, Frankel continues to use OLA property

  and OLA Data for his own benefit and gain, or that of FCI, and to the detriment of

  OLA, by using it to disparage OLA and interfere unlawfully with its business

  relationships and to compete against OLA.




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            28 .   At some point while working with GLA, in or around 2012, Frankel

  founded FCI, which is in the business of providing legal consulting services . In 2022,

  · after terminating his relationship with GLA, Frankel used FCI directly or indirectly to

  compete with GLA by using GLA' s confidential and proprietary information and trade

  secrets, for example, by poaching a GLA client whose case had been on the verge of

  settling.

            29.    Upon information and belief, Frankel in his capacity of Manager and

  by exercising direct or indirect ownership or control of FCI, Frankel has caused FCI to

  receive the GLA Data, and FCI is using the GLA Data for its own benefit and gain,

  and to the detriment of GLA, by using it to disparage GLA and interfere with its

  business relationships and to compete against GLA.

            30.    Frankel and FCI continue to access and use the GLA Data without

  GLA' s consent.

            31 .   GLA has suffered and will continue to suffer actual harm in an amount

  which is impossible to quantify at this time because of the Defendants'

  misappropriation, use, and/or further disclosure of GLA 's confidential and proprietary

  information and trade secrets .

            32.    Upon information and belief and as noted above, GLA has suffered and

  is suffering actual and irreparable harm and injury by reason of the Defendants'

  continued retention of, access to, theft of, use of, and/or possible further disclosure of

  GLA's confidential and proprietary information and trade secrets in an amount that




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   cannot be determined or ascertained at this time but including loss of profits well in

   excess of the jurisdictional minimum of this Court.

            33.    The inevitable disclosure and/or continued misappropriation of GLA's

   confidential and proprietary information and trade secrets has caused and/or will cause

   GLA to suffer immediate, substantial, continuing, and irreparable harm and injury for

   which GLA has no adequate remedy at law, including but not limited to the potential

   loss of business, goodwill, and its competitive edge.

            34.    Unless enjoined, the Defendants will persist, to GLA 's continuing

   harm, in the above-described unlawful behavior and/or there is a substantial risk of

   unlawful misappropriation, use, and/or disclosure, for the redress of which GLA has

   no adequate remedy at law.

            35.    The harm GLA will suffer if the Defendants are not enjoined far

   outweighs any harm the Defendants will suffer from the issuance of injunctive relief.

   FIRST COUNT: VIOLATIONS OF COMPUTER FRAUD AND ABUSE ACT,
   18 U.S.C. § 1030 (FRANKEL)

            1.-35. GLA re-alleges the allegations contained in Paragraphs 1 through 35 in

   the initial sections of this Verified Complaint as if fully set forth herein as Paragraphs

   1 through 35 of this First Count.

            36.    Frankel at various times knowingly and intentionally accessed GLA 's

   protected computer systems without authorization, and/or exceeded his authorized

   access in so doing.

            37.    By means of this unlawful access, Frankel was able to obtain from

   GLA's computer systems numerous and valuable files, records, electronic


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   correspondence, and other types of information, including GLA's trade secrets and

   confidential information.

             38.    The computer systems unlawfully accessed by Frankel are used by

   GLA in interstate commerce or communication, and/or affect interstate commerce or

   communication.

             39.    As a proximate result of this unlawful access of GLA ' s computer

   systems, GLA has suffered actual and irreparable harm, for which GLA has no

   adequate remedy available at law, and financial loss exceeding $5,000 during a one-

   year period, including, but not limited to, the costs to investigate and remediate

   Frankel's breaches and to bring this action.

   SECOND COUNT: VIOLATIONS OF STORED COMMUNICATIONS ACT,
   18 U.S.C. § 2701, et seq. (FRANKEL)

             1.-35. GLA re-alleges the allegations contained in Paragraphs 1 through 35 in

   the initial sections of this Verified Complaint as if fully set forth herein as Paragraphs

   1 through 35 of this Second Count.

             36.    Frankel at various times knowingly and intentionally accessed

   electronic communications without authorization and obtained, altered, or prevented

   authorized access to a wire or electronic communication while in electronic storage.

   Frankel had actual knowledge of and benefited from this practice.

             37.    Frankel at various times knowingly and intentionally exceeded

   authorization to access GLA' s electronic communications and obtained, altered, or

  prevented authorized access to a wire or electronic communication while in electronic

   storage. Frankel had actual knowledge of and benefited from this practice.


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            38.    The computer systems unlawfully accessed by Frankel are used by

   GLA in interstate commerce or communication, and/or affect interstate commerce or

   communication.

            39.    As a proximate result of this unlawful access of GLA' s stored

   electronic communications, GLA has suffered harm due to Frankel ' s unjust

   enrichment at GLA's expense and is entitled to money damages.

            40.    Frankel' s conduct is willful and intentional, and therefore GLA is

   entitled to punitive damages.

   THIRD COUNT: CONNECTICUT COMPUTER CRIMES (FRANKEL)

            1.-35 . GLA re-alleges the allegations contained in Paragraphs 1 through 35 in

   the initial sections of this Verified Complaint as if fully set forth herein as Paragraphs

   1 through 35 of this Third Count.

            36 .   For the sole purpose of performing his work at GLA, Frankel had

   access to GLA' s computer system and certain GLA computer data files containing

   highly confidential and proprietary information and trade secrets.

            37.    Upon information and belief, Frankel knowingly and intentionally

   accessed GLA ' s computer system with the intent to access or misuse GLA ' s

   information in order to compete illegally with GLA and/or for his benefit or that of

   FCI.

            38 .   Frankel had no authority to use GLA' s computer resources or to access

   GLA ' s computer system, including its data in the rogue cloud storage account, for any

   purpose other than to support or .advance GLA' s business.



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              39.   Upon information and belief, Frankel acted with the knowledge that he

   was not authorized to access GLA's computer system for his benefit or that of others.

             40.    Furthermore, Frankel committed theft of computer services when,

   without GLA 's consent, he accessed and used for his use and benefit, or that of FCI,

   GLA's computer and external hard drive which GLA owned, and when he deprived

   GLA of access and use of the GLA Data in the rogue cloud storage account and

   transferred the GLA to his own computer or devices and/or to those of FCI.

             41.    Furthermore, Frankel misused GLA 's computer system information

   when, as a result of his accessing GLA' s computer system, he intentionally made an

   unauthorized display, use, disclosure or copy of data residing in GLA's computer

   system, and/or he knowingly received or retained GLA data obtained through his

   unlawful computer access.

             42.    Upon information and belief, Frankel engaged in the unauthorized

   access to, theft of, and/or misuse of GLA's computer system in violation of

   Connecticut General Statutes§ 53a-251(b), (c), and/or (e), which crimes are civilly

   actionable pursuant to Connecticut General Statutes § 52-570b.

             43.    As a result of Frankel's unlawful conduct, GLA is harmed, and is

   entitled to the recovery of damages in accordance with Connecticut General Statutes §

   52-570b(c).

             44.    GLA will continue to be harmed unless the Court issues an order

   restraining and enjoining Frankel's retention and/or misuse of GLA 's computer




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   resources and computer data in accordance with the provision of Connecticut General

   Statutes § 52-570b(a).

            45 .   GLA is likely to succeed in pursuit of injunctive relief under applicable

   law.

            46.    GLA seeks an order for injunctive relief as set forth in the request for

   relief in this Verified Complaint.

            47 .   GLA seeks a further order directing restitution pursuant to Connecticut

   General Statutes § 52-570b(a)(2) .

            48.    GLA seeks the appointment of a receiver pursuant to Connecticut

   General Statutes § 52-570b(a)(3) with the power, inter alia, to retrieve and take

   possession of GLA 's computer resources, computer data, and all derivative and

   commingled property.

            49.    GLA is aggrieved and entitled to an award of reasonable costs and

   reasonable attorney fees pursuant to Connecticut General Statutes § 52-570b(e).

            50.    Upon information and belief, Frankel's conduct was willful and

   malicious , entitling GLA to the recovery of treble damages , pursuant to Connecticut

   General Statutes§ 52-570b(c).




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   FOURTH COUNT: MISAPPROPRIATION OF TRADE SECRETS UNDER
   THE DEFEND TRADE SECRETS ACT ("DTSA"), 18 U.S.C. 1836, et seq.
   (FRANKEL)

              1.-35. GLA re-alleges the allegations contained in Paragraphs 1 through 35 in

   the initial sections of this Verified Complaint as if fully set forth herein as Paragraphs

   1 through 35 of this Fourth Count.

             36.     GLA offers and performs services in interstate commerce, and the

   computer systems unlawfully accessed by Frankel are used by GLA in interstate

   commerce or communication, and/or affect interstate commerce or communication.

             37.     As explained herein, the confidential and proprietary information

   Frankel accessed from GLA ' s computer system, including the rogue cloud storage

   account, and transmitted to himself and/or FCI is the result of years of work and

   substantial expenditure of time, effort, and expense and constitutes trade secrets under

   the DTSA. GLA takes , and at all relevant times has taken, reasonable steps to

   safeguard and protect the secrecy of its trade secrets. GLA's confidential, proprietary,

   and trade secret information has significant independent economic value to GLA, and

   would have significant economic value to its competitors, including Frankel and FCI,

   because they are not generally known or readily ascertainable to persons outside of

   GLA, including GLA's competitors.

             38.    Frankel misappropriated GLA' s trade secrets by improper means

   through his unauthorized retention of, access to, theft of, and/or misuse of, GLA ' s

   computer system.




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             39.    Frankel has no justification for his improper use and knows or should

   know that the trade secrets are GLA' s property.

             40.    GLA has neither expressly nor impliedly consented to Frankel's use or

   disclosure of GLA's trade secrets in any way. Frankel is aware that he does not have

   GLA's consent to use GLA's trade secrets at FCI, or otherwise.

             41.    Frankel's misappropriation of GLA' s trade secrets for his own gain is

   willful, wanton and malicious, and was taken with reckless disregard for the rights of

   GLA.

             42.   Frankel's unlawful activit~es on behalf of himself and FCI constitute

   and will continue to constitute the inevitable disclosure of GLA's confidential and

   proprietary information and trade secrets, as well as threatened misappropriation

   within the meaning of the DTSA.

             43.   As a result of Frankel's misappropriation of GLA' s trade secrets, GLA

   has suffered and will continue to suffer actual and irreparable harm and money

   damages, including actual loss. Without injunctive relief, GLA will continue to be

   irreparably harmed by Frankel's misappropriation of its trade secrets.

             44.   Frankel has been unjustly enriched as a result of his misappropriation

   of GLA's trade secrets .

            45.    GLA is entitled to the injunctive relief set forth in its request for relief

   in this Verified Complaint to prevent Frankel's actual and/or threatened

   misappropriation of its trade secrets, and also to money damages and the attorneys'

   fees that it incurs in this action.



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   FIFTH COUNT: MISAPPROPRIATION OF TRADE SECRETS UNDER THE
   CONNECTICUT UNIFORM TRADE SECRETS ACT ("CUTSA"), C.G.S. § 35-
   51, et seq. (FRANKEL)

            1. -3 5. OLA re-alleges the allegations contained in Paragraphs 1 through 3 5 in

   the initial sections of this Verified Complaint as if fully set forth herein as Paragraphs

   1 through 35 of this Fifth Count.

            36.    As explained herein , the confidential and proprietary information

   Frankel accessed from OLA' s computer system, including the rogue cloud storage

   account, and transmitted to himself and/or FCI is the result of years of work and

   substantial expenditure of time, effort, and expense and constitutes trade secrets under

   Connecticut General Statutes § 35-51 et seq, and/or principles of common law. GLA

   takes, and at all relevant times has taken , reasonable steps to safeguard and protect the

   secrecy of its trade secrets. OLA' s confidential, proprietary, and trade secret

   information has significant independent economic value to GLA, and would have

   significant economic value to its competitors, including Frankel and FCI, because they

   are not generally known or readily ascertainable to persons outside of OLA, including

   OLA' s competitors.

            37.    Frankel misappropriated OLA ' s trade secrets by improper means

   through his unauthorized retention of, access to, theft of, and/or misuse of, OLA ' s

   computer system.

            38.    Frankel has no justification for his improper use and knows or should

   know that the trade secrets are GLA ' s property.




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             39.    Frankel has neither expressly nor impliedly consented to Frankel's use

   or disclosure of GLA' s trade secrets in any way . Frankel is aware that he does not

   have GLA's consent to use GLA ' s trade secrets at FCI, or otherwise.

             40.    Frankel's misappropriation of GLA's trade secrets for his own gain is

   willful, wanton and malicious , and was taken with reckless disregard for the rights of

   GLA.

             41.    As a result of Frankel's conduct, GLA has suffered an actual loss and is

   entitled to the recovery of actual damages pursuant to Connecticut General Statutes §

   35-53 .

             42.    Frankel has been unjustly enriched as a result of his misappropriation

   of GLA's trade secrets.

             43.    Upon information and belief, Frankel's conduct was willful and

   malicious, entitling GLA to the recovery of punitive damages and attorneys ' fees

   pursuant to Connecticut General Statutes § 35-53.

             44.    Frankel ' s use of GLA' s trade secrets has caused and will continue to

   cause both monetary damages and irreparable harm to GLA.

             45 .   Unless enjoined from use of GLA's trade secrets, GLA will continue to

   suffer immediate and irreparable harm and damages.

             46.    GLA seeks an order for injunctive relief as set forth in the request for

   relief in this Verified Complaint.

             47 .   GLA is likely to succeed in pursuit of injunctive relief under applicable

   law.



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   SIXTH COUNT: VIOLATIONS OF COMPUTER FRAUD AND ABUSE ACT,
   18 U.S.C. § 1030 (FCI)

            1.-35. GLA re-alleges the allegations contained in Paragraphs 1 through 35 in

   the initial sections of this Verified Complaint as if fully set forth herein as Paragraphs

   1 through 35 of this Sixth Count.

            36 .   Through Frankel acting on FCI's behalf, FCI at various times

   knowingly and intentionally accessed GLA ' s protected computer systems without

   authorization , and/or exceeded Frankel ' s authorized access in so doing.

            37.    By means of this unlawful access, FCI was able to obtain from GLA ' s

   computer systems numerous and valuable files , records, electronic correspondence,

   and other types of information, including GLA' s trade secrets and confidential

   information .

            38 .   The computer systems unlawfully accessed by FCI are used by GLA in

   interstate commerce or communication, and/or affect interstate commerce or

   communication.

            39.    As a proximate result of this unlawful access of GLA ' s computer

   systems, GLA has suffered actual and irreparable harm, for which GLA has no

   adequate remedy available at law, and financial loss exceeding $5,000 during a one-

   year period, including, but not limited to, the costs to investigate and remediate FCI' s

   breaches and to bring this action.




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   SEVENTH COUNT: VIOLATIONS OF STORED COMMUNICATIONS ACT,
   18 U.S.C. § 2701, et seq. (FCI)

            1.-35. GLA re-alleges the allegations contained in Paragraphs 1 through 35 in

   the initial sections of this Verified Complaint as if fully set forth herein as Paragraphs

   1 through 35 of this Seventh Count.

            36.    Through Frankel acting on FCI' s behalf, FCI at various times

   knowingly and intentionally accessed electronic communications without

   authorization and obtained, altered, or prevented authorized access to a wire or

   electronic communication while in electronic storage. FCI had actual knowledge of

   and benefited from this practice.

            37.    Through Frankel acting on FCI' s behalf, FCI at various times

   knowingly and intentionally exceeded authorization to access GLA' s electronic

   communications and obtained, altered, or prevented authorized access to a wire or

   electronic communication while in electronic storage. FCI had actual knowledge of

   and benefited from this practice.

            38.    The computer systems unlawfully accessed by Frankel on behalf of FCI

   are used by GLA in interstate commerce or communication, and/or affect interstate

   commerce or communication.

            39.    As a proximate result of this unlawful access of GLA' s stored

   electronic communications, GLA has suffered harm due to FCI' s unjust enrichment at

   GLA's expense and is entitled to money damages.

            40.   FCI's conduct is willful and intentional, and therefore GLA is entitled

   to punitive damages .


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   EIGHTH COUNT: CONNECTICUT COMPUTER CRIMES (FCI)

            1.-50. GLA re-alleges the allegations contained in Paragraphs 1 through 50 in

   the Third Count as if fully set forth herein as Paragraphs 1 through 50 of this Eighth

   Count.

            51.    Upon information and belief, FCI knowingly received and retained data

   obtained by Frankel in violation of Connecticut General Statutes§ 53a-251(e)(l)

   and/or has used and/or disclosed and continues to use and/or disclose data it knew or

   believed was obtained in violation of Conn. Gen. Stat. § 53a-25 l(e)(l).

            52.    As such, upon information and belief, FCI has violated Connecticut

   General Statutes § 53a-251 (e)(3), which crimes are civilly actionable pursuant to

   Connecticut General Statutes § 52-570b.

            53 .   As a result of FCI's unlawful conduct, OLA is harmed, and is entitled

   to the recovery of damages in accordance with Connecticut General Statutes § 52-

   570b(c).

            54.    GLA will continue to be harmed unless the Court issues an order

   restraining and enjoining FCI's retention and/or misuse of GLA's computer resources

   and computer data in accordance with the provision of Connecticut General Statutes §

   52-570b(a).

            55.    GLA is likely to succeed in pursuit of injunctive relief under applicable

   law.

            56.    OLA seeks an order for injunctive relief as set forth in the request for

  relief in this Verified Complaint.



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            57.    GLA seeks a further order directing restitution pursuant to Connecticut

   General Statutes § 52-570b(a)(2).

            58.    GLA seeks the appointment of a receiver pursuant to Connecticut

   General Statutes § 52-570b(a)(3) with the power, inter alia, to retrieve and take

   possession of GLA's computer resources, computer data, and all derivative and

   commingled property.

            59.    GLA is aggrieved and entitled to an award of reasonable costs and

   reasonable attorney fees pursuant to Connecticut General Statutes § 52-570b(e).

            60.    Upon information and belief, FCI' s conduct was willful and malicious,

   entitling GLA to the recovery of treble damages, pursuant to Connecticut General

   Statutes§ 52-570b(c).

   NINTH COUNT: MISAPPROPRIATION OF TRADE SECRETS UNDER THE
   DEFEND TRADE SECRETS ACT ("DTSA"), 18 U.S.C. 1836, et seq. (FCI)

            1.-35. GLA re-alleges the allegations contained in Paragraphs 1 through 32 in

   the initial sections of this Verified Complaint as if fully set forth herein as Paragraphs

   1 through 35 of this Ninth Count.

            36.    GLA offers and performs services in interstate commerce, and the

   computer systems unlawfully accessed by Frankel acting on behalf of FCI are used by

   GLA in interstate commerce or communication, and/or affect interstate commerce or

   communication.

            37.    As explained herein , the confidential and proprietary information

   Frankel accessed from GLA' s computer system, including the rogue cloud storage

   account, and transmitted to FCI is the result of years of work and substantial


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   expenditure of time, effort, and expense and constitutes trade secrets under the DTSA.

   GLA takes, and at all relevant times has taken, reasonable steps to safeguard and

   protect the secrecy of its trade secrets. GLA ' s confidential, proprietary, and trade

   secret information has significant independent economic value to GLA, and would

   have significant economic value to its competitors, including Frankel and FCI,

   because they are not generally known or readily ascertainable to persons outside of

   GLA, including GLA's competitors.

             38.    FCI misappropriated GLA' s trade secrets by improper means through

   Frankel's unauthorized retention of, access to, theft of, and/or misuse of, GLA' s

   computer system.

             39 .   FCI has no justification for its improper use and knows or should know

   that the trade secrets are GLA' s property.

             40.    GLA has neither expressly nor impliedly consented to FCI's use or

   disclosure of GLA's trade secrets in any way. FCI is aware that it does not have

   GLA 's consent to use GLA's trade secrets.

            41.     FCI's misappropriation of GLA' s trade secrets for its own gain is

   willful, wanton and malicious, and was taken with reckless disregard for the rights of

   GLA.

            42.     FCI's unlawful activities constitute and will continue to constitute the

   inevitable disclosure of GLA's confidential and proprietary information and trade

   secrets, as well as threatened misappropriation within the meaning of the DTSA.




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            43.    As a result of FCI' s misappropriation of GLA' s trade secrets, GLA has

   suffered and will continue to suffer actual and irreparable harm and money damages,

   including actual loss. Without injunctive relief, GLA will continue to be irreparably

   harmed by FCI' s misappropriation of its trade secrets.

            44.    FCI has been unjustly enriched as a result of its misappropriation of

   GLA 's trade secrets.

            45.    GLA is entitled to the injunctive relief set forth in its request for relief

   in this Verified Complaint to prevent FCI's actual and/or threatened misappropriation

   of its trade secrets, and also to money damages and the attorneys' fees that it incurs in

   this action.

   TENTH COUNT: MISAPPROPRIATION OF TRADE SECRETS UNDER THE
   CONNECTICUT UNIFORM TRADE SECRETS ACT ("CUTSA"), C.G.S. § 35-
   51, et seq. (FCI)

            1.-4 7. GLA re-alleges the allegations contained in Paragraphs 1 through 47 of

   the Fifth Count as if fully set forth herein as Paragraphs 1 through 47 of this Tenth

   Count.

            48 .   As explained herein, the confidential and proprietary information

   Frankel accessed from GLA 's computer system, including the rogue cloud storage

   account, and transmitted to FCI is the result of years of work and substantial

   expenditure of time, effort, and expense and constitutes trade secrets under

   Connecticut General Statutes § 35-51 et seq, and/or principles of common law. GLA

   takes, and at all relevant times has taken , reasonable steps to safeguard and protect the

   secrecy of its trade secrets. GLA's confidential, proprietary, and trade secret



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   information has significant independent economic value to GLA, and would have

   significant economic value to its competitors, including Frankel and FCI, because they

   are not generally known or readily ascertainable to persons outside of GLA, including

   GLA's competitors.

            49 .   Upon information and belief, FCI knowingly received from Frankel

   and retained GLA's misappropriated trade secrets in violation of Connecticut General

   Statutes§ 53a-25 l(e)(l) and/or has used and/or disclosed and continues to use and/or

   disclose data it knew or believed was obtained in violation of Conn. Gen. Stat. § 53a- ·

   25 l(e)(l).

           50.     FCI has misappropriated GLA's trade secrets by improper means

   through its unauthorized retention of, access to, theft of, and/or misuse of, GLA's

   computer system.

            51.    FCI has no justification for its improper use and knows or should know

   that the trade secrets are GLA's property.

            52.    GLA has neither expressly nor impliedly consented to FCI's use or

   disclosure of GLA 's trade secrets in any way. FCI is aware that it does not have

   GLA's consent to use GLA's trade secrets.

            53.    FCI's misappropriation of GLA 's trade secrets for its own gain is

   willful, wanton and malicious, and was taken with reckless disregard for the rights of

   GLA.

            54.    FCI has been unjustly enriched as a result of its misappropriation of

   GLA' s trade secrets .



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             55.    As a result of FCI's conduct, GLA has suffered an actual loss and is

   entitled to the recovery of actual damages pursuant to Connecticut General Statutes §

   35-53.

            56.     Upon information and belief, FCI's conduct was willful and malicious,

   entitling GLA to the recovery of punitive damages and attorneys' fees pursuant to

   Connecticut General Statutes § 35-53 .

            57.     FCI's use of GLA 's trade secrets has caused and will continue to cause

   both monetary damages and irreparable harm to GLA.

            58.     Unless enjoined from use of GLA's trade secrets, GLA will continue to

   suffer immediate and irreparable harm and damages.

            59.     GLA seeks an order for injunctive relief as set forth in the request for

   relief in this Verified Complaint.

            60.     GLA is likely to succeed in pursuit of injunctive relief under applicable

   law.

   ELEVENTH COUNT: CIVIL THEFT UNDER C.G.S § 52-564 (FRANKEL
   ANDFCI)

             1.-35. GLA re-alleges the allegations contained in Paragraphs 1 through 35 in

   the initial sections of this Verified Complaint as if fully set forth herein as Paragraphs

   1 through 35 of this Eleventh Count.

            36.     GLA is the exclusive owner of the computer, external hard drive, and

   data in the rogue cloud storage account, as well as the confidential and proprietary




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   information and trade secrets, including without limitation the GLA Data, that GLA

   provided to Frankel for use, and that Frankel did use, in his work for GLA.

            37.    The Defendants acting alone or in concert intended to deprive GLA of

   its computer resources , proprietary and confidential information and trade secrets, and

   data files, and to appropriate the same to themselves by removing GLA's access to the

   GLA Data, by causing the deletion of copies of the GLA Data on GLA's computer

   system, by failing and/or refusing to return to GLA the GLA Data and computer

   property, and by diverting the same to the Defendants ' own use and benefit in

   competition with GLA and at GLA's expense.

            38.    The Defendants' actions constitute civil theft in violation of

   Connecticut General Statutes Section 52-564.

            39.    As a direct and proximate cause of the Defendants ' actions, GLA has

   suffered injury, entitling GLA to money damages and treble damages pursuant to

   Connecticut General Statutes § 52-564.

   TWELFTH COUNT: CONVERSION (FRANKEL AND FCI)

            1.-35. GLA re-alleges the allegations contained in Paragraphs 1 through 35 in

   the initial sections of this Verified Complaint as if fully set forth herein as Paragraphs

   1 through 35 of this Twelfth Count.

            36.    GLA is the exclusive owner of the computer, external hard drive and

   data in the rogue cloud storage account, as well as the confidential and proprietary

   information and trade secrets, including without limitation the GLA Data, that GLA

   provided to Frankel for use, and that Frankel did use, in his work for GLA.



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            37.    The Defendants acting alone or in concert and without authorization

   from GLA assumed and exercised ownership and control over GLA's computer

   resources, proprietary and confidential information and trade secrets, rogue cloud

   storage account, and data files, by removing GLA's access to the GLA Data, by

   causing the deletion of copies of the GLA Data on GLA's computer system, by failing

   and/or refusing to return to GLA the GLA Data and computer property, and by

   diverting the same to the Defendants' own use and benefit in competition with GLA

   and at GLA's expense.

            38.    The Defendants' conduct has resulted in GLA's being completely

   excluded from exercising any ownership rights or control over GLA's computer

   resources, proprietary and confidential information and trade secrets, data in the rogue

   cloud storage account, and data files. GLA made demand for return of its property.

            39.    As a direct and proximate cause of the Defendants ' actions, GLA has

   suffered injury, entitling GLA to money damages.

   THIRTEENTH COUNT: UNJUST ENRICHMENT (FRANKEL AND FCI)

            1.-35. GLA re-alleges the allegations contained in Paragraphs 1 through 35 in

   the initial sections of this Verified Complaint as if fully set forth herein as Paragraphs

   1 through 35 of this Thirteenth Count.

            36.-39. GLA re-alleges the allegations contained in Paragraphs 36 through 39

   in the First Count as if fully set forth herein as Paragraphs 36 through 39 of this

   Thirteenth Count.




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            40.-44. GLA re-alleges the allegations contained in Paragraphs 36 through 40

   of the Second Count as if fully set forth herein as Paragraphs 40 through 44 of this

   Thirteenth Count.

            45 .-59. GLA re-alleges the allegations contained in Paragraphs 36 through 50

   of the Third Count as if fully set forth herein as Paragraphs 45 through 59 of this

   Thirteenth Count.

            60.-69. GLA re-alleges the allegations contained in Paragraphs 36 through 45

   of the Fourth Count as if fully set forth herein as Paragraphs 60 through 69 of this

   Thirteenth Count.

            70.-81. GLA re-alleges the allegations contained in Paragraphs 36 through 47

   of the Fifth Count as if fully set forth herein as Paragraphs 70 through 81 of this

   Thirteenth Count.

            82.-85. GLA re-alleges the allegations contained in Paragraphs 36 through 39

   of the Sixth Count as if fully set forth herein as Paragraphs 82 through 85 of this

   Thirteenth Count.

            86.    The Defendants benefited or will benefit from their improper conduct

   as alleged herein, such as the Defendants' use of GLA ' s trade secrets and proprietary

   and confidential information.

            87.    The benefit to the Defendants was unjust in that GLA was not

   compensated.

            88.    The benefit to the Defendants operated to GLA' s detriment.




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            89.    The Defendants are or will be unjustly enriched if they are permitted to

   benefit from their improper conduct.

            90.    As a direct result of the Defendants' conduct, GLA has suffered and

   will suffer damages .

   FOURTEENTH COUNT: UNFAIR TRADE PRACTICE (FRANKEL AND FCI)

            1.-90. GLA re-alleges the allegations contained in Paragraphs 1 through 90 of

   the Thirteenth Count as if fully set forth herein as Paragraphs 1 through 90 of this

   Fourteenth Count.

            91.    The Defendants' conduct, as alleged herein, was unethical ,

   unscrupulous, unfair and/or deceptive.

            92.    The Defendants' conduct constitutes unfair method(s) of competition

   and/or unfair or deceptive act(s) or practice(s) in violation of the Connecticut Unfair

   Trade Practices Act, Conn. Gen. Stat.§§ 42-1 l0a et. seq .

            93.    The Defendants' conduct occurred in the Defendants' primary trade or

   business.

            94.    As a result of the Defendants ' conduct, GLA has sustained an

   ascertainable loss, and is entitled to injunctive relief, consequential and punitive

   damages and an award of attorneys' fees pursuant to Conn. Gen. Stat. § 42-1 lOa(g).

            95.   In accordance with Conn. Gen. Stat. § 42-1 lOg, a copy of this Verified

   Complaint will be provided to the Attorney General and the Commissioner of

   Consumer Protection of the State of Connecticut.




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   WHEREFORE, the Plaintiff seeks the following relief:

            1.    Preliminary and permanent injunctive relief as to Frankel, including but

   not limited to the following:

                  a. An order that Frankel, his agents, employees and all those acting in
                     concert with them, immediately return and forever cease and desist
                     from using in any way any computer, external hard drive, and any
                     other tangible property purchased by GLA, as well as any GLA
                     confidential and proprietary information, whether in printed or
                     digital form, including but not limited to the GLA Data, as defined
                     in this Verified Complaint, acquired by Frankel in connection with
                     his work for with GLA, for his own benefit or to benefit a
                     competitor of GLA, including but not limited to FCI, law firms ,
                     legal services providers, advisors , and consulting firms;

                  b. An order that Frankel, his agents, employees and all those acting in
                     concert with them, immediately identify each and every individual
                     or entity with whom he shared GLA's confidential and proprietary
                     information and trade secrets, including but not limited to the GLA
                     Data, and that Frankel inform each such individual or entity that
                     they must securely destroy and immediately cease and desist from
                     using such information;

                  c. An order that Frankel, his agents, employees and all those acting in
                     concert with them, (1) search for any evidence that he has uploaded
                     or otherwise entered any GLA confidential and proprietary
                     information and trade secrets, including without limitation GLA
                     Data, to Frankel 's personal computers, servers, hard drives , and
                     cloud services/storage accounts; (2) return to GLA and delete from
                     Frankel's computers, servers, hard drives , and cloud
                     services/storage accounts any and all such GLA confidential
                     information that is found pursuant to that search; and (3) certify that
                     such search and deletion were performed within 30 days of the
                     Court' s order along with the detailed results of the search and
                     method of deletion; and

                  d.    An order that Frankel, his agents, employees and all those acting in
                       concert with them, immediately identify by full name, mailing
                       address, and other known contact information each and every GLA
                       client and/or prospective GLA client whom Frankel or others on his
                       behalf solicited or contacted for the purpose of offering services
                       similar to or competitive with those offered by GLA to the


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                      exclusion of GLA, whether during the period of Frankel ' s
                      relationship with GLA or thereafter.

            2.    Preliminary and permanent injunctive relief as to FCI, including but not

   limited to the following:

                  a. An order that FCI, its agents , employees and all those acting in
                     concert with them, immediately return and forever cease and desist
                     from using in any way any computer, external hard drive, and any
                     other tangible property purchased by GLA, as well as any GLA
                     confidential and proprietary information, whether in printed or
                     digital form , including but not limited to the GLA Data, as defined
                     in this Verified Complaint, acquired through Frankel in connection
                     with his work with GLA, for its own benefit or to benefit a
                     competitor of GLA, including but not limited to law firms , legal
                     services providers, advisors , and consulting firms;

                  b. An order that FCI, its agents, employees and all those acting in
                     concert with them, immediately identify each and every individual
                     or entity with whom it shared GLA ' s confidential and proprietary
                     information and trade secrets, including but not limited to the GLA
                     Data, and that FCI inform each such individual or entity that they
                     must securely destroy and immediately cease and desist from using
                     such information;

                  c. An order that FCI, its agents, employees and all those acting in
                     concert with them, (1) search for any evidence that it has uploaded
                     or otherwise entered any GLA confidential and proprietary
                     information and trade secrets, including without limitation GLA
                     Data, to FCI's computers, servers, hard drives, and cloud
                     services/storage accounts; (2) return to GLA and delete from its
                     computers, servers, hard drives, and cloud services/storage accounts
                     any and all such GLA confidential information that is found
                     pursuant to that search; and (3) certify that such search and deletion
                     were performed within 30 days of the Court's order along with the
                     detailed results of the search and method of deletion; and

                  d. An order that FCI, its agents, employees and all those acting in
                     concert with them, immediately identify by full name, mailing
                     address , and other known contact information each and every GLA
                     client and/or prospecti ve GLA client acquired through Frankel
                     whom FCI or others on its behalf solicited or contacted for the
                     purpose of offering services similar to or competitive with those


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                      offered by GLA to the exclusion of GLA, whether during the period
                      of Frankel's relationship with GLA or thereafter.

             3.    Actual damages and/or damages for unjust enrichment pursuant to

   Connecticut General Statutes § 52-570b;

             4.    Appointment of a Receiver pursuant to Connecticut General Statutes §

   52-570b(a)(3), with the power to collect, receive, and take into their possession any

   property that belongs to the Defendants that may have been derived by, used in, or

   aided in the violation of Connecticut General Statutes § 53a-25 l, including without

   limitation all data and property of every description, and further including all data and

   property with which such data and property has been commingled if it cannot be

   identified in kind because of such commingling;

             5.    Treble damages, pursuant to Connecticut General Statutes § 52-

   570b(c);

             6.    Reasonable costs and attorneys ' fees as permitted by applicable law ,

   including without limitation the Connecticut General Statutes § 52-570b(e), SCA,

   DTSA, CUTS A, and CUTP A;

             7.    Punitive damages as permitted by applicable law, including without

   limitation, the SCA, CUTS A, and CUTPA;

             8.    Injunctive relief restraining and enjoining the Defendants from

   retaining and/or misusing GLA 's computer data, pursuant to Connecticut General

   Statutes§ 52-570b(a)(l), CFAA, SCA, DTSA, and/or CUTSA;

             9.    Restitution pursuant to Connecticut General Starutes § 52-570b(a)(2);




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             10.    A permanent injunction prohibiting the Defendants from further unfair

   methods of competition and unfair or deceptive acts or practices;

             11.    Restitution sufficient to disgorge the unjust enrichment that the

   Defendants received;

             12.    Money damages;

             13 .   Prejudgment and post judgment interest;

             14.    Expert witness fees ;

             15.    Costs; and

             16.    All other relief, in law or in equity, that this Court deems appropriate.


                                            PLAINTIFF,
                                            GREENWICH LEGAL ASSOCIATES, LLP


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                               UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF CONNECTICUT



      GREENWICH LEGAL ASSOCIATES,
      LLC

                        Plaintiff,
      V.                                                    Civil Action No.


      ADAM FRANKEL and FRANKEL
      CONSULTING INC.

                        Defendants.



                                             VERIFICATION

      STATE OF CONNECTICUT                          )
                                                    )   :ss: GrunWtGh
      COUNTY OFF AIRFIELD                           )

             Martin Lacoff, being duly sworn, deposes and says that he is the Executive
      Manager of the Plaintiff in the above-captioned action, Greenwich Legal Associates,
      LLC. I have read the annexed Verified Complaint and the foregoing is true and
      accurate to the best ofmy own knowledge except as to matters herein alleged on
      information and belief and as to those mattecs, I b e ~



                                                            Martin Lacoff
     Sworn to before me this
     ~ day of October, 2022

      6x0JJ~
      Notary Publi~


             ,n,      ERIC.MICAAEt'MAGUONE
           ~ Notary Public, ·State of Connectictt
            :-MyCommission Ei~res.June 30, 2026


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